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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                  )
                                          )
      vs.                                 ) 2:23-cr-146
                                          )
BRIAN DIPIPPA; and KRYSTAL                )
                                          )
DIPIPPA,                                  )
                                          )
               Defendants.                )
                                          )
                             PRESENTENCE ORDER
      AND NOW, this 10th day of September, 2024, the Court HEREBY
ORDERS that the Probation Office shall prepare presentence investigation
reports for each Defendant. In accordance with LCrR 32(C), the following
deadlines shall apply:
      1.      Response to Information Establishing Prior Conviction. If
the government has filed any information establishing prior conviction as to
either Defendant, the Defendant shall file a response to the Information to
Establish Prior Conviction filed by the United States by September 24, 2024.
Pursuant to 21 U.S.C. § 851(b) and (c), the response must state: (1) whether
Defendant affirms or denies the allegations of the information of prior
convictions and/or whether he or she claims that any convictions alleged are
invalid; and (2) the basis for any denials or challenges. The Court hereby
informs Defendants that any challenge to a prior conviction that is not made
before the sentence is imposed may not later be raised to attack the sentence.
      2.      Draft Presentence Report. The Probation Office shall disclose
drafts of its presentence investigations report to the respective parties by
October 29, 2024.
      3.      Administrative Resolution.         Following disclosure of the
presentence investigation reports, the parties shall confer with the Probation

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Office and, pursuant to LCrR32(C)(2), complete the administrative resolution
of any disputes by November 5, 2024.
      4.      Disclosure of Presentence Report to the Court.                 The
Probation Office shall disclose the final presentence reports to the Court and
the respective parties by November 13, 2024.
      5.      Objections; Positions of the Parties. The parties shall file
written position statements with respect to sentencing factors, in accordance
with LCrR 32(C)(4), Fed R. Crim. P. 32(f), and U.S.S.G. § 6A1.2(b), by
November 19, 2024. Each party’s position statement must include the meet
and confer certification required by LCrR32(C)(4).
      6.      Responses to Objections and Positions. Any party may file a
response to the opposing party’s position with respect to sentencing factors by
November 26, 2024.
      7.      Actions on Objections; Addendum. The Probation Office shall
file any necessary addenda to its presentence reports by December 3, 2024.
      8.      Restitution and Victim Impact Materials.            The Probation
Office shall e-mail any restitution requests, restitution agreements, and victim
impact statements to the courtroom deputy by December 3, 2024.
      9.      Motions for Departure. All motions for upward or downward
departure shall be filed by December 10, 2024. Any motion for departure,
including any motion per U.S.S.G. § 5K1.1, shall specify the requested number
of levels that the Court should depart from the guidelines (i.e., the party should
state a specific number of levels for departure). The motion shall also specify
the bases for the departure.
      10.     Sentencing Memoranda and Supplemental Information.
The parties shall file sentencing memoranda and any other supplemental


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information with respect to sentencing by December 10, 2024. Any responses
to sentencing memoranda or other filings are due by December 17, 2024.
      11.   Content of Sentencing Memoranda. The parties are free to
bring any relevant matters to the Court’s attention in their sentencing briefs,
and structure their briefs in a manner that they believe to be most helpful or
persuasive. To provide some guidance to the parties, the Court provides some
general instructions and information regarding the parties’ sentencing
memoranda:
         • Information supporting any factual stipulations.                 If the
            parties have stipulated to certain facts, such as drug quantity or
            restitution, it is helpful to provide the basis for these stipulations.
            For example, a summary of the evidence that forms the basis for a
            drug-quantity stipulation is helpful, as is an accounting or
            calculation as to any stipulated amounts of restitution.
         • Relative culpability. In cases involving multiple defendants,
            information or argument as to different defendants’ respective
            roles and culpability is helpful for the Court in assessing
            sentencing disparities.
         • General deterrence. For any crimes where general deterrence
            is of particular importance, specific support for consideration of
            that factor is helpful.
         • Departure motions. A motion for a departure should be made in
            accordance with the deadline noted above, and not be made for the
            first time in a sentencing brief. A departure motion is different
            than a request for a variance. Requests for variances can and
            should be addressed in the briefs.


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        • Specific sentencing requests.         The Court is not offended if
           either side advocates for specific kinds or lengths of sentences in
           their briefs, or at the sentencing hearing.
        • Boilerplate briefs. There isn’t a need to submit “boilerplate”
           sentencing briefs that summarily go through the Section 3553
           factors. So, if there is nothing important to emphasize in the
           sentencing briefs, counsel should feel free to say as much, or
           indicate that the application of the Section 3553 factors is
           straightforward and will be addressed at the sentencing hearing.
     12.   Sentencing Hearing. Sentencing as to each Defendant is set for
January 6, 2025 at 2:00 p.m. in Courtroom 6C, 6th Floor, United States
Courthouse, 700 Grant Street, Pittsburgh, Pennsylvania. Continuances of this
date will not be granted absent a showing of good cause.


                                    BY THE COURT:


                                    /s/ J. Nicholas Ranjan
                                    United States District Judge




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